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MARKS, O’NEILL, O’BRIEN,

DOHERTY & KELLY, P.C.

BY: Christian M. Scheuerman, Esquire Attorney For Defendant,
Attorney I.D. 02170-2007 Akron Billing Center
535 Route 38 East, Suite 501

Cherry Hill, NJ 08002

(856)663-4300

669-106234(SXK/CMS)

 

UNITED STATES DISTRICT
Dee Ann Cline, COURT FOR THE DISTRICT OF
NEW JERSEY

VS.
CIVIL ACTION NO.: 19-9166
Akron Billing Center
NOTICE OF REMOVAL

 

Please take notice that Defendant Akron Billing Center, pursuant to 28
U.S.C. 1331, 28 U.S.C. 1441, 28 U.S.C. 1446, and fully reserving any and all
defenses, hereby removes to this Court the above styled action, filed in the
Superior Court of New Jersey, Special Civil Part, Burlington County, under docket
number DC-1498-19. In support of the notice of removal, Defendant states the
following:

1. On February 25, 2019, Plaintiff commenced an action in the Superior
Court of New Jersey, Special Civil Part, Burlington County, docket number DC-
1498-19. Pursuant to 28 U.S.C. 1446(a), copies of all process and proceedings

initially provided to Defendant are attached as Exhibit A.

{NJ971512.1}

 
 

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2. On March 5, 2019, Defendant received a copy of the complaint by
mail. (See date stamp pg. 1, Exhibit A).

3. The complaint alleges two counts for the alleged violation of the Fair
Debt Collection Practices Act, 15 U.S.C. 1692, et seq.

4. This Court has original jurisdiction over this action pursuant to 28
U.S.C. 1331, because the claim arises under the laws of the United States.

5. Therefore, this Court has federal question jurisdiction over the above-
captioned action pursuant to 28 U.S.C. 1331, and the matter may be removed to
this Court pursuant to 28 U.S.C. 1441.

6. Venue is proper as the action was pending in Burlington County, New
Jersey. 28 U.S.C. 1441 (a).

ds This notice of removal is filed in the time prescribed by 28 U.S.C.
1446(b) and the Federal Rules of Civil Procedure.

8. Upon filing of this notice of removal, Defendant shall give written
notice to Plaintiffs counsel and shall file a copy of the notice of removal with the
clerk, Superior Court of New Jersey, Special Civil Part, Burlington County.

9. By filing this notice of removal, Defendant does not waive any
defenses or claims which may be available to them.

10. No previous application or petition has been made for removal.

{NJ971512.1}

 
 

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WHEREFORE, Defendant removes the above-captioned action now
pending against it in the Superior Court of New Jersey, Special Civil Part,
Burlington County, to the United States District Court for the District of New

Jersey, wherein it shall proceed as an action originally commenced therein.

MARKS, O’NEILL, O’BRIEN,
DOHERTY & KELLY, P.C.

/s/ Christian M. Scheuerman
Christian M. Scheuerman, Esquire
Attorney for Defendant

{NJ971512.1}

 
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| Court’s Address and Phone Number: Superior Court of New Jersey
| BURLINGTON Special Civil Part Law Division, Special Civil Part
49 RANCOCAS ROAD BURLINGTON County
| MOUNT HOLLY, NJ 08060-0000 Docket No: BUR-DC-001498-19
609-288-9500 Civil Action
TORT-OTHER
7 YOU ARE BEING SUED!
Person or Business Suing Yau (Plaintiff) Person or Business Being Sued (Defendant)
Dee A Cline Akron Billing Center
Plaintif’s Attorney Information The Person or Business Suing You Claims You Owe the
THOMAS P KELLY Following;
KELLY LAW OFFICES, LLC Demand Amount $1000.00
STE 29] 3000 ATRIUM WAY Filing Pee $75.00
MY LAUREL, NY 08054-0000 Service Pee $7.00
609-261-6100 Attorney's Fees __ $4500.00
TOTAL

 

 

 

$4592.00

In the attached complainl, the person or business suing you briefly tells the court his or her version of the facis of the case and how much
money he or she claims you owe. Ifyou do not answer the complaint, you may lose (he case automatically and the court muy give the
plaintiff what the plaintht Is asking for, plus interest and court costs. You have 35 days from the date of service to file your answer

ora signed agreement, If a judgment is entered against you, a Special Civil Part Officer may seize your money, wages or persontl
property to pay all or part of the judgment. The judgment is valid for 20 years.

iF YOU DISAGREE WITH THE PLAINTIFF'S CLAIMS, A WRITTEN ANSWER OR SIGNED AGREEMENT MUST BE
RECEIVED BY TALE COURT ABOVE, ON OR BEFORE 04/08/2019, OR THE COURT MAY RULE AGAINST YOU, Ir You
DISAGREE WITH THE PLAINTIFF, YOU MUST DO ONE OR BOTH OF THE FOLLOWING:

1. Answer the complaint An answer form that will explain how to respand to the compltint is available al any of the New Jersey Special

Civil Port Offices or on the Judiciary 's Intemet sile qy:ourls gov under the seetion for Forms. If yau deeide to file an ansiver to the

complaint made against you:
» Fill out the Answer form AND pay the applicable filing fee by check or money order payable to: Treasurer, State of Naw Jersey,
Include BUR-DC-001498-19 (your Docket Number) on the check.

Mail or kend deliver the completed Answer form and the check or money order to the court’s address listed above.

Hand deliver or send by regular mail a copy of the completed Answer form to the plaintit?’s attorney. If the plainsiff does net have
an attomey, send your completed answer form fo the plaintiif by regular and certified mail. This MUST be dove al the same time

Resolve the dispute. Contact the plaintiff's attorney, or contact the plaintiff if the plaintiff does not have an attorney, to revolve this

dispute. The plainiiff may agree lo accept payment arrangements. If you reach an agreenent, mail or hand deliver the SLGNED
agreement to the court's address listed above on or before 04/08/2019.

Please Nate - You may wish to get an attarncy to represent you. If you cannot afford to pay for an atlomey, free legal advice may be
available by contacting Legal Services at 609-261-1088. If you can afford fo pay nn attomey but do not know one, you may call the Lawyer

Referral Services of your local County Bar Association at 609-261-4862. Notify the court now if you need an inlerpreter or an
accommodation for a disability for any future court appearance,

fst Michelle M. Smith
Clerk of the Superior Court

 

 

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EXHIBIT

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THOMAS P. KELLY I, ESQ, (23832000)
KELLY LAW OFFICES, LLC
3000 ATRIOM WAY, SUITE 291
MOUNT LAUREL, NEW JERSEY 08054
(609) 261-6100 p
(609) 261-6105 f
Attomey for Dee Ann Cline, Plaintiff
i SUPERIOR COURT OF NEW JERSEY

DEE ANN CLINE, i LAW DIVISION: SPECIAL CIVIL PART
BURLINGTON COUNTY
Plaintiff,
Docket No.:
WS,
Civil Action
AKRON BILLING CENTER,
COMPLAINT

Defendant.

Plamtiff, DEE ANN CLINE (“PLAINTIFF”), by way of complaint against
Defendant, AKRON BILLING CENTER, (“DEFENDANT”), says:
L NATURE OF THE ACTION
1, This is an action for damages brought by an individual consumer for Defendant’s
violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seg. (hereinafter

“FDCPA”), which prohibits debt collectors from engaging in abusive, deceptive and unfair

practices.
IT. PARTIES
2. Plaintiff is an adult consumer who resides in Burlington County, New Jersey.
3, Defendant is a debt collection company with a principal place of business located

at 3585 Ridge Part Dive, Akron, Ohio.
4, At all times relevant to the factual allegations of this Complaint, Defendant acted
as a “debt collector” within the meaning of 15 U.S.C. § 1692(a)(6) and attempted to collect a

“debe” as defined by 15 U.S.C. § 1692(a)(5).

 
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5. Defendant regularly conducts business in Burlington County, New Jersey, and the
conduct complained of occurred in this vicinage, thus establishing personal jurisdiction.

6, Defendant acted through its agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trusties, sureties, subrogees, representatives, and insurers.

Hf. FACTUAL ALLEGATIONS

7. At all relevant times, Defendant sought to collect an alleged consumer debt from
Plaintiff related to a bill from Emergency Physician Services of NJ P.A.

8. The consumer debt at issue relates to services that were for personal use.

9, In the attempt to collect a debt, Defendant wrote a collection letter to plaintiff, dated
December 23, 2018, (see “Exhibit A”)

10. The envelope in which the debt collection letter was mailed contained a glassine
window through which could be seen the plaintiff's full account number, directly above her
addressee information.

ll. The Plaintiff and his attorneys read the July 18, 2017 letter.

Iv. CAUSE OF ACTION FOR VIOLATIONS OF THE FDCPA

12. Plaintiff repeats, realleges and incorporates by reference the allegations in the
preceding paragraphs of this Complaint,

13. Plaintiff is a “consumer” within the meaning of 15 U.S.C. § 1692a(3).

14. Defendant is a “debt collector’ within the meaning of 15 U.S.C. § 1692a(6),

15, The Debtis a “debt” within the meaning of 15 U.S.C. § 1692a(5).

16. The December 23, 2018 letter from the defendant is a “communication” as defined
by 15 U.S.C. § 1692a(2).

17. Defendant violated the FDCPA.

18, The FDCPA is a strict lability statute.
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19.  Defendant’s violations include, but are not limited to.

a 15 US.C. § 1692£(8), by using any language or symbol, other than the debt
collectors address on the envelope when communicating with a consumer.

b. 15US.C. § 1692e(11) requires all communications from debt collectors (other
than legal pleadings) to provide notice to the consumer identifying the sender
as a debt collector and also notifying the consumer that the debt collector was
attempting to collect a debt and that any information obtained would be used

* for that purpose. The May 8, 2018 communication from the defendant violated
the FDCPA because it did not include the notice required by 15 U.S.C. §

1692¢(11).

39. As a result of the above violations of the FDCPA, the Defendant is liable to the

Plaintiff for statutory damages, costs and attorney’s fees.

F PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully requests that the Court enter judgment against

Defendant for the following:

a. An award of statutory damages for Plaintiff pursuant to 15 U.S.C. § 1692k(a)(1),
b. Attorney’s fees, lingation expenses, and costs pursuant to 15 U.S.C. § 1692k(a)(3);

and

c. For such other and further relief as the Court may deem just and proper.

J

Thomas P Kelly Y

 

Dated: February 25, 2019

 
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CERTIFICATION PURSUANT 10 RULE 4:5-]
Pursuant to Rule 4:5-1, the undersigned attomey for Plaintiff hereby certifies that, to the best
of my knowledge, information and belief, the within action is not presently the subject of any other
action pending in any court or of a pending arbitration proceeding to date, nor is any other action

or arbitration proceeding between these parties contemplated at this time,

ST home Pi

Thomas P. Kelly II
Dated: February 25, 2019

CERTIFICATION PURSUANT TO RULE 1138-7
Pursuant to Rule 1:38-7, the undersigned attomey for Plaintiff hereby certifies that confidential
personal identifiers have been redacted from documents now submitted to the court, and will be

redacted from all documents submitted in the future in accordance with Rule 1:38-7(b).
xg hemo Kt)

Thomas P. Kelly IT

q

Dated: February 25, 2019
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r .5C| 3404
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cy ,
Exhibit A— Letter from Defendant to Plaintiff dated 1 2/23/2018

 
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AKRON BILLING CENTER
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INFORMATION OR FOR CHANGE OF ADDRESS.

 

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FOR CREDIT CARD OR INSURANCE UPDATES

 

 

  

     

     
 

  

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| ACCOUNT NUMBER: STATEMENT PATE: 12/29/18 TOTAL NOW DUE: _ $1,626.00 |
PLEASE REMY BALANCE REQUIRED OR VISIT OUR WEBSITE AT WWW. THOILLPAY.COM TO PAY BY GREOIT CARD. 4

 

 

» VISIT WWW.THBILLPAY.COM TO MAKE PAYMENTS OR UPDATE INFORMATION «
CALL 1-888-952-6772 TO SPEAK TO A REPRESENTATIVE MONDAY ~ FRIDAY, 8AM - 8PM, SATURDAY 10AM-3PM EST

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Browns Mills NJ 08015-6227

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Group Numbers __ = —T

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MAILING INSTRUCTIONS

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To Send Credit Card Payments;
Tf paying by credit card, please ue the top coupon and check Department B on the front.

BILLING RIGHTS SUMMARY
Our acceptance of any paymenc marked wicha sesirletlye legend or ocherwise marked “pald Ln full" will nor opexare san accord and satisfaction wichout our express prlor weltten
approval.

If you bellave this statement fa incorrect, of If you need sédittonal laformation, contact us in walting or by ghens. The billing faquley number ls Nsted on the front, We nist Bear
from you no later than 60 days after the Inlelal statement. You mny telephone us, however doing co will nos preserve your rights.

When you contace us, please provide che following information.
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® Deserlbe the errar or problem

Ploase pay In U,$ Dollars. Checks should be weltten froma U.S. Banke Ife check is weltren from a Fotelgn Bank, add $35.00 for U.S. Bank processing fees or pay byan
American Express Maney Order,

Team Health will charge a praceseing fee (adiled to the balanes dus on (hleswcaunt) forany check which [s requmed by the Bak "Non-Sufftelent Funds*//NSF”. This fee will
cavar the expense Inenried by fear Health for Hank Frees, exces plocesiing t correct the pecount halsxee and additional atarement proceasing.

We are requiced by opplteable federal and state Taw co nialntain the pelvacy of your health infermatten, Therefore, if you conmct uy megardiig uhs statement, we will ask you ro
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ONLY RETURN THIS COUPON WHEN PAYING BY CHECK

 
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THOMAS P. KELLY IH, ESQ. (23832000)
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3000 ATRIUM WAY, SUITE 291
MOUNT LAUREL, NEW JERSEY 08054
(609) 261-6100 p

(609) 261-6105 f

Attorney for Dee Ann Cline, Plaintiff

 

 

i SUPERIOR COURT OF NEW JERSEY
DEE ANN CLINE, : LAW DIVISION: SPECIAL CIVIL PART
| BURLINGTON COUNTY
Plaintiff,
Docket No;
WS. f
| Civil Action
AKRON BILLING CENTER,
| AFFIDAVIT OF DILIGENT INQUIRY
Defendant.

 

I, Thomas P. Kelly, being of full age, hereby attest to the following

1, Yam counsel for the plaintiff in the above-referenced matter.

2. Despite diligent effort and inquiry, personal service upon the defendant cannot be
made in accordance with R. 4:4-4(a) because the defendant resides outside this
juasdiction.

3. Therefore, [ respectfully request that the Court permit constructive service upon _
the defendant(s), pursuant to R. 4:4-4(b), by mailing a copy of the summons and
complaint by registered or certified mail, return receipt requested, and,
simultaneously, by ordinary mail to the defendants named herein.

These statemenis are true to the best of my knowledge and belief. I am aware that

knowingly false statements may be punishable by law.
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t rf

Dated: February 25, 2019 By: aN
THOMAS P. KELLY IT

 
